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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        )
                                                )
               v.                               )
                                                )
PAUL J. MANAFORT, JR. and                       )        Crim. No. 17-201 (ABJ/DAR)
RICHARD W. GATES III,                           )
                                                )
               Defendants.                      )


    DEFENDANT RICHARD W. GATES III’S MOTION SEEKING PERMISSION TO
      LEAVE HOME CONFINEMENT FOR SPECIFIC FAMILY ACTIVITES ON
       SATURDAY, NOVEMBER 11, 2017 AND SUNDAY, NOVEMBER 12, 2017
       Richard W. Gates III, by and through counsel, hereby moves this Court for permission to

leave home confinement so that he may take his children to specific activities on Saturday,

November 11, 2017 and Sunday, November 12, 2017. Counsel has been working diligently with

the United States to reach a joint proposal for bail conditions and has now submitted a proposed

package with supporting documents for consideration to the United States which includes the

pledging of his personal residence, IRA account, and five individuals willing to act as sureties

for his bail. However, counsel anticipates that the United States may be unable to finalize its

position before the close of business today and that this Court would lack sufficient time to

consider and rule on such joint proposal before the close of business today. Accordingly,

counsel seeks this Court’s permission for Mr. Gates to assist with his children’s activities

(including church attendance from 8:30 am to 11:00 am on Sunday, November 12) over the

weekend between the hours of 9:30 a.m. to 1:30 p.m. on Saturday, November 11 and 8:30 a.m. to

4:00 p.m. on Sunday, November 12. Mr. Gates would notify Pre-Trial Services of his specific

whereabouts and hours out of the house as he previously did when this Court granted him

identical permission last weekend.

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       Mr. Gates fully complied with his pretrial release obligations then and he will continue to

do so if this court grants the present motion. The United States, which did not oppose the

previous weekend’s family activities, now opposes this motion, but Mr. Gates submits that the

United States will not be prejudiced by the granting of this motion nor has Mr. Gates suddenly

become a greater risk of flight this weekend vis-à-vis last weekend.

       WHEREFORE, Defendant Gates hereby respectfully moves this Court for permission to

leave home confinement so that he may attend his children’s activities over the weekend.

                                             Respectfully submitted,


                                             _/s/Shanlon Wu_______________
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